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                                        April 18, 2022
By ECF
The Hon. James L. Cott
United States Magistrate Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

        Re:    Unlimited, Inc. v. Beeline Imports & Services, LLC, 21-cv-10972 (LGS)(JLC

Dear Your Honor:

        Pursuant to Your Honor’s order dated March 18, 2022 (Dkt. No. 24), Plaintiff
Unlimited, Inc writes this letter with Defendants Beeline Imports & Services, LLC and
Albertsons Companies, Inc. d/b/a Acme Stores’ (“Defendants”) (collectively “the Parties”)
consent to submit the Parties availability for a settlement conference in the above-captioned
case.
        The Parties jointly propose June 6,7, and 10, 2022, as mutually convenient dates to
appear before Your Honor for the settlement conference. Further, the Parties respectfully
request the Court to provide the video platform for the settlement conference and if
required are available to discuss the logistics. We look forward to attending and
participating in the settlement conference.

                                      Respectfully submitted,
                                      /s/Kalpana Nagampalli
                                      Kalpana Nagampalli
